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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


CARNEGIE INSTITUTION OF
WASHINGTON and M7D CORPORATION,

     Plaintiffs,

     v.                                Civil Action No. 1:20-cv-00200-JSR

FENIX DIAMONDS LLC,

     Defendant.


                DEFENDANT FENIX DIAMONDS LLC’S
     REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


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       Nouveau Diamonds LLP (“Nouveau”) manufactures the diamonds that Fenix Diamonds

LLC (“Fenix”) sells. Nouveau does not practice the methods of the ’078 patent claims under any

reasonable interpretation of the Court’s constructions. Additionally, Plaintiffs no longer allege that

Fenix infringes the ’189 patent.

I.     FENIX DOES NOT INFRINGE THE ’189 PATENT AS A MATTER OF LAW

       Plaintiffs’ operative complaint against Fenix includes a charge of infringement of the ’189

patent. See ECF No. 16 at ¶¶ 84–99 (Am. Compl.); Pls.’ Resp. to Fenix’s Rule 56.1 Statement of

Facts (“RSOF”) ¶ 1. Fenix denied these allegations and counterclaimed for a declaration of non-

infringement. ECF No. 43 at First Counterclaim ¶¶ 17–20; RSOF ¶ 3. Plaintiffs now admit that

they “no longer assert that Fenix infringes the ’189 patent.” RSOF ¶¶ 12, 72–74.

       Plaintiffs cite no statute, rule, or case that authorizes a dismissal without prejudice at this

late stage. To the contrary, Second Circuit case law makes clear that a dismissal without prejudice

should not be granted under these circumstances. See Zagano v. Fordham Univ., 900 F.2d 12, 14

(2d Cir. 1990); Galasso v. Eisman, Zucker, Klein & Ruttenberg, 310 F. Supp. 2d 569, 572

(S.D.N.Y. 2004) (“[A] party should not be permitted to avoid the prospect of an adverse decision

on a dispositive motion by dismissing a claim without prejudice.”). Indeed, “[c]ourts in this Circuit

often reject motions for dismissal without prejudice when they are made, as here, after summary

judgment motions have been filed.” Jose Luis Pelaez, Inc. v. McGraw-Hill Glob. Educ. Holdings

LLC, No. 16-CV-5393 (KMW), 2018 WL 1115517, at *4 (S.D.N.Y. Feb. 26, 2018).

       Plaintiffs have not made a formal application for a dismissal without prejudice, and, even if

they had, Fenix has filed its own counterclaim in this action. Fenix’s summary judgment motion is

proper. In the absence of any assertion of infringement, much less evidence thereof, the Court should

grant summary judgment that Fenix does not directly or indirectly infringe the ’189 patent. See

Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986) (“Rule 56(c) mandates the entry of summary


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judgment . . . against a party who fails to make a showing sufficient to establish the existence of an

element essential to that party’s case, and on which that party will bear the burden of proof at trial.”).

II.     FENIX DOES NOT INFRINGE THE ’078 PATENT AS A MATTER OF LAW

        In opposing Fenix’s motion, Plaintiffs accuse Fenix of mischaracterizing the Court’s

construction of the ’078 patent claims. Pls.’ Opp’n Br. at 1, 6, 9, and 11. They also object to Fenix’s

reliance on documentary evidence that Nouveau voluntarily produced in this action. Id. at 1–2,

13–14. Neither argument creates an issue of fact as to the alleged infringement.

        A.      Nouveau’s Evidence Is Admissible

        There is no dispute that Nouveau grows the diamonds that Fenix sells. RSOF ¶¶ 39–40.

Fenix cannot infringe the ’078 patent, either directly or indirectly, unless Nouveau practices every

element of the claimed method. See Mirror Worlds, LLC v. Apple Inc., 692 F.3d 1351, 1358

(Fed. Cir. 2012) (A plaintiff must show that “all steps of the claimed method [are] performed.”).

        Fenix’s motion relies upon an affidavit of (i)                                  and

             (“the Affidavit”), witnesses who have intimate knowledge of Nouveau’s process, and

(ii) admissions of Plaintiffs’ experts. RSOF ¶¶ 42–48; 50–52; 63–64; 72–74. The Affidavit is

notarized and, thus is a self-authenticating acknowledged document. Fed. R. Evid. 902(8); see PA

Realty Grp., LLC v. Hornbeck, No. 16-cv-00630-VLB, 2017 WL 4169409, at *8 (D. Conn.

Sept. 19, 2017) (“[T]he affidavit is notarized and is therefore admissible as a self-authenticated

document . . . .”); see also Hutter v. Countrywide Bank, N.A., No. 09-cv-10092 NSR, 2015 WL

5439086, at *2 n.2 (S.D.N.Y. Sept. 14, 2015) (“Plaintiff’s Affidavit is already properly before the

Court and is otherwise self-authenticating.”).

        Plaintiffs’ infringement expert agrees that the Affidavit describes Nouveau’s “normal”

process. Statement of Uncontested Material Facts (“SOF”) ¶ 45, Expert Report of Michael Capano,

Ph.D. Regarding Infringement of U.S. Patent No. 6,858,078 (“Capano Rpt.”) at ¶ 225. Plaintiffs


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surface temperature gradients prevents the formation of polycrystalline diamond.”) (emphasis added).

To this end, all asserted claims require “growing single-crystal diamond . . . on the growth surface.”

       Plaintiffs’ expert Dr. Capano correctly concludes that Nouveau does not practice the claims

if the “growth surface” includes regions of polycrystalline growth:

               [I]f the “parasitic” non-diamond or polycrystalline diamond
               material that grows during MPCVD diamond production was part
               of the “growth surface” one would not be “growing single-crystal
               diamond . . . on the growth surface” as required by the claim.

Fenix’s Resp. to Pls.’ Statement of Material Facts (“FRSOF”) ¶ 109, Capano Rpt. at ¶ 173.

Because Nouveau does not infringe if the “growth surface” includes polycrystalline material,

Dr. Capano explains that “growth surface” must only refer to the single-crystal domain of growth:

“Accordingly, I do not interpret growth surface to include the non-diamond or polycrystalline

diamond that grows at the periphery of the single crystal diamond.” SOF ¶ 29, Capano Rpt. at

¶ 173; see FRSOF ¶¶ 67, 96, 98, id. at ¶ 167.

       But whether “growth surface” includes polycrystalline material has not been a live

controversy since the Court’s Markman Order where the Court concluded that “[t]he construction

of the term “growth surface” must therefore not exclude polycrystalline growth.” SOF ¶ 18,

Markman Order at 20 (emphasis added). The following table compares Plaintiffs’ interpretation

of “growth surface” with the Court’s Order.

                  Plaintiffs                                           The Court
    “In my opinion, the growth surface is the
                                                        “Plaintiffs’ proposed construction [of
region where single-crystal diamond grows . . .
                                                    “growth surface”] . . . would wrongly restrict
and does not include the surrounding areas.”
                                                    the term to include only surface area where
FRSOF ¶¶ 67, 96, 98, Capano Report at ¶ 167;
                                                    single-crystal diamond is growing.” SOF ¶ 19,
FRSOF ¶¶ 67, 96, 98, Capano Dep. Tr. at
                                                    Markman Order at 19 (emphasis added).
178:8–11 (similar).




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                  Plaintiffs                                         The Court
     “No, I am not willing to include the entire
surface upon which hydrocarbon gases are                 The “growth surface” refers to “the entire
accruing [in “growth surface”]. I think that’s      surface where hydrocarbon gases are accruing
contrary to the Court’s construction.” FRSOF        into new diamond.” SOF ¶ 17, Markman Order
¶¶ 67, 96, 98, Capano Dep. Tr. at 180:21–           at 19 (emphasis added).
181:4.
     “I do not interpret growth surface to
include the non-diamond or polycrystalline
diamond that grows at the periphery of the              The “growth surface” “must . . . not
single crystal diamond.” SOF ¶ 29, FRSOF            exclude polycrystalline growth.” SOF ¶ 18,
¶¶ 67, 96, 98, Capano Report at ¶ 173; FRSOF        Markman Order at 20.
¶¶ 67, 96, 98, Capano Dep. Tr. at 178:20–24
(similar).

       Dr. Capano agrees that Nouveau’s polycrystalline domain includes polycrystalline

diamond. FRSOF ¶¶ 67, 96, 98, Capano Dep. Tr. at 178:2–11. Nevertheless, Dr. Capano attempts

to draw a subtle distinction that because Nouveau’s polycrystalline domain in View 10 of the

Affidavit might not be exclusively polycrystalline diamond, it is not part of the growth surface.

FRSOF ¶¶ 67, 96, 98, Capano Dep. Tr. at 178:5–11




NV3/NV967/Affidavit View 10. But again, the Court has already resolved this dispute.

Specifically, the Court held that in the context of the ’078 patent, “diamond” refers to all domains


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of growth, including “graphite” and “diamond-like carbon.” SOF ¶ 24, PSOF ¶ 37, Markman

Order at 28. The Court’s holding is consistent with the ’078 patent, which instructs that “diamond-

like carbon” is a “[t]ype of [d]iamond.” FRSOF ¶ 50, ’078 patent at 14:17–21.

       Thus, no reasonable person could conclude that Nouveau forms “insubstantial non-

monocrystalline material” on the growth surface, as required by every asserted claim. Plaintiffs,

to their credit, do not advance this argument. Instead, Plaintiffs allege that Nouveau grows

insubstantial non-monocrystalline material because the finished diamonds Fenix sells, from which

the non-monocrystalline material has been removed via post-processing including laser-cutting,

polishing, and annealing, are single-crystal. PSOF ¶¶ 40–59. By doing so, Plaintiffs manipulate

the asserted claims from “growing single-crystal diamond . . . on the growth surface” into “selling

single-crystal diamond.” Furthermore, Plaintiffs advance a new theory in their response to Fenix’s

Rule 56.1 statement that does not appear in any of their expert reports, in particular that

insubstantial non-monocrystalline growth is not “an unexpected or atypical amount.” RSOF ¶ 51.

Put another way, Plaintiffs now contend that “insubstantial” refers to an expected or typical amount

of non-monocrystalline growth.

       Plaintiffs’ theories as to “single-crystal diamond” are merely creative attempts to avoid the

Court’s construction and to capture a diamond with severe non-monocrystalline growth, if such

growth is “expected” or capable of being excised through rounds of laser-cutting, polishing, and

annealing. The Court rejected Plaintiffs’ proposed construction of a “substantially single-crystal

[diamond]” for being “too broad.” Markman Order at 29. It follows that a “substantially single-

crystal [diamond]” cannot be infringing.

       In a further attempt to avoid the Court’s Markman Order, Plaintiffs erroneously contend

that it is not possible to grow insubstantial non-monocrystalline material using an MPCVD




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process. Opp. Br. at 8–9, PSOF ¶¶ 52–55. But this is exactly what the ’078 patent purports to

achieve. SOF ¶ 59, ’078 patent at 6:48–54 (“Precise control over . . . growth surface temperature

gradients prevents the formation of polycrystalline diamond.”) (emphasis added); SOF ¶ 57, id. at

5:5–9 (“[T]he distance D can not be so large as to prevent the heat-sinking effect of the [side-

contact-holder] that prevents the formation of twins or polycrystalline diamond along the edges.”)

(emphasis added); PSOF ¶ 72, id. at 13:66–14:1 (“[T]he resulting diamond . . . was a single-

crystal, with a small degree of polycrystallinity localized at the top edges of the diamond.”).

       Importantly, Plaintiffs did not seek reconsideration of the Court’s Markman order and, in

any event, such a motion would have been ill-advised. Under Local Civil Rule 6.3,

“‘reconsideration will generally be denied unless the moving party can point to controlling

decisions or data that the court overlooked—matters, in other words, that might reasonably be

expected to alter the conclusion reached by the court.’” Silverman v. Payward, Inc., No. 19-CV-

2997(JSR), 2019 WL 3242347, at *1 (S.D.N.Y. June 24, 2019) (Rakoff, J.) (quoting Shrader v.

CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995)). “A motion for reconsideration ‘is not a vehicle

for relitigating old issues . . . or otherwise taking a second bite at the apple.’” Silverman, 2019 WL

3242347, at *1 (quoting Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir.

2012), as amended (July 13, 2012)). To the extent Plaintiffs believed that the Court clearly erred

in its claim construction, they should have sought reconsideration rather than having its expert

unilaterally reconstrue the terms in a manner the Court has already considered and rejected. 4

               2.      Nouveau Does Not Control All Temperature Gradients to Less Than 20° C

       The ’078 patent “teaches that temperature gradients of less than 20° C are necessary to

produce uniform growth over large diamonds.” SOF ¶ 54, Capano Rpt. at ¶ 186 (emphasis added).

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 Plaintiffs are obligated to read, understand, and follow the Court’s claim construction. See Ex. 32,
Order Den. Recons., Oyster Optics, LLC v. Ciena Corp., No. 17-cv-05920-JSW, at 2 (N.D. Cal.
Sept. 14, 2020), ECF No. 137 (“Ciena is strongly encouraged to read the Order.”).


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Plaintiffs do not seriously dispute that Nouveau’s diamonds do not have uniform growth, that is

“post-processing is required to remove polycrystalline material at the periphery.” RSOF ¶ 51; see

RSOF ¶ 50. Accordingly, Nouveau does not maintain temperature gradients of less than 20° C.

       In an effort to create a factual dispute, Plaintiffs rely on several pieces of so-called

“evidence” including finite-element-analysis (“FEA”), experiments performed in M7D’s facilities,

and “corrected” temperature gradient measurements. With respect to FEA, Dr. Capano testified

that his analysis does not model Nouveau’s process. FRSOF ¶¶ 64-66, 108, Capano Dep. Tr. at

263:13–16. Dr. Capano further testified that his experiments conducted at M7D’s facilities neither

modeled Nouveau’s process nor found the maximum temperature gradient. FRSOF ¶¶ 100, 104,

105, Capano Dep. Tr. at 239:6–10.

       Dr. Capano reliance on “corrected” temperature gradient measurements conducted by

Nouveau is similarly unavailing. Nouveau measured growth surface temperature gradients by

capturing (i) the temperature at the center of the single-crystal domain and (ii) the temperature near

one to four points on the periphery of the single-crystal domain. Dr. Capano “corrected” the

temperature measurements at the center and at the periphery (based on differences the optical

properties) to obtain “corrected” temperature gradients. PSOF ¶ 98, FRSOF ¶ 98, Capano Rpt. at

¶¶ 217, 223.

       Dr. Capano’s reliance on center to edge temperature gradients runs counter to Plaintiffs’

positions on the temperature gradient limitation during claim construction. Plaintiffs rejected

Fenix’s construction of the temperature gradient limitation to require “using temperatures

measured at the middle and an edge” Plaintiffs argued as follows:

               Fenix goes even further astray by arguing [] that, “as a matter of
               physics,” measuring temperatures at the middle and an edge of a
               diamond growth surface “is the only way to determine the maximum
               temperature gradient.” Not so. Growth surface heat patterns may



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               have localized hot spots . . . for which the maximum temperature
               difference will not be reflected by middle and edge temperature
               measurements but would be reflected by one or more measurements
               localized on the hot spot itself.

FRSOF ¶¶ 67, 96, 98, ECF No. 34, Pls.’ Rebuttal Claim Construction Br. at 3. The Court sided

with Plaintiffs in concluding that “[c]laims 1 and 12 refer to ‘all temperature gradients across the

growth surface,’ not merely those measured between the middle and the edge.” FRSOF ¶¶ 67, 96,

98, Markman Order at 15–16 (emphasis added). By successfully arguing that middle to edge

measurements are not dispositive of the maximum temperature gradient during claim construction,

Plaintiffs are judicially estopped from arguing that center to edge measurements taken by Nouveau

(and “corrected” by Dr. Capano) are demonstrative of all temperature gradients on the growth

surface. See New Hampshire v. Maine, 532 U.S. 742, 749 (2001) (“[J]udicial estoppel[] ‘generally

prevents a party from prevailing in one phase of a case on an argument and then relying on a

contradictory argument to prevail in another phase.’” (quoting Pegram v. Herdrich, 530 U.S. 211,

227 n.8 (2000)).

       C.      Summary Judgment Is Proper if Nouveau’s Evidence Is Inadmissible

       If the Court accepts Plaintiffs’ invitation to exclude Nouveau’s documents, Plaintiffs have

no admissible evidence. Therefore, summary judgment of non-infringement would be appropriate

for Plaintiffs’ failure to meet their burden of proving infringement. See Novartis Corp. v. Ben

Venue Labs., Inc., 271 F.3d 1043, 1051 (Fed. Cir. 2001) (“Under modern summary judgment law,

a patentee who fails to provide probative evidence of infringement runs the risk of being

peremptorily nonsuited.” (citing Celotex, 477 U.S. at 322–23)).

III.   CONCLUSION

       For the foregoing reasons, Fenix respectfully requests that the Court to grant its motion

for summary judgment of non-infringement of the ’078 and ’189 patents.



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Dated: November 4, 2020


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